Case 4:19-cv-00098-JFH-CDL Document 192-17 Filed in USDC ND/OK on 02/10/20 Page 1 of 1




                   UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


    (1)   JANICE BUSH, as
          Special Administrator for the
          Estate of Ronald Garland,
          deceased,

                      Plaintiff,
                                                   Case No.: 19-cv-00098-GKF-FHM
    v.

    (2)   BRET BOWLING, in his official
          And individual capacity as Sheriff
          Creek County, Okla. et al.

                      Defendants.


                                      EXHIBIT 17
                                 Video from the CCJC
                           Garland placed in restraint chair
                    (filed under seal and by conventional means)




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